Case 1:20-cv-01141-RJJ-RSK          ECF No. 94, PageID.940          Filed 07/05/24      Page 1 of 11




                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION


  ENBRIDGE ENERGY, LIMITED
  PARTNERSHIP, et al.,

           Plaintiffs,                                               Case No. 1:20-cv-1141

  v.                                                                 HON. ROBERT J. JONKER

  GRETCHEN WHITMER, et al.,

           Defendants.
  ____________________________/

                                    OPINION AND ORDER

          The Governor of Michigan and the Director of the Michigan Department of Natural

 Resources issued an order to Enbridge directing shut down of its Line 5 pipeline. Enbridge filed

 this action seeking declaratory and injunctive relief against the shutdown order as a violation of

 federal statutory and constitutional law. Defendants ask this Court to dismiss the complaint on

 sovereign immunity grounds. (ECF No. 62.) For the reasons stated below, Defendants’ Motion to

 Dismiss is denied.

                                     I.      BACKGROUND

       A. Factual Background

          Line 5 is a pipeline owned and operated by Enbridge. The pipeline has been transporting

 crude oil and natural gas liquids through Wisconsin and Michigan to Canada for over 65 years. A

 small segment of the pipeline, referred to as the Straits Pipeline, crosses the Straits of Mackinac

 under an Easement granted in 1953.
Case 1:20-cv-01141-RJJ-RSK                 ECF No. 94, PageID.941                Filed 07/05/24          Page 2 of 11




           On November 13, 2020, Defendants issued a Notice of Revocation and Termination of

 Easement to Enbridge that directed Enbridge to cease operating the Straits Pipeline and

 decommission it within 180 days. (ECF No. 1-1.) The Notice purported to revoke the 1953

 Easement because (1) it was allegedly not a valid conveyance; (2) the continued use of the Straits

 Pipeline allegedly violates the public trust doctrine; and (3) Enbridge allegedly breached the

 Easement’s terms. Enbridge filed this action eleven days after the Notice and has continued to

 operate the pipeline during the pendency of this case.1

     B. Procedural Background

           On November 24, 2020, Enbridge filed this three-count complaint seeking declaratory and

 injunctive relief against Defendants in their official capacities based on three federal law theories.

 (ECF No. 1.) First, Enbridge alleges that Defendants’ shutdown would violate the Supremacy

 Clause because the federal Pipeline Safety Act expressly preempts state regulation of pipeline

 safety.    Second, Enbridge alleges that Defendants’ shutdown would violate the Interstate

 Commerce Clause as an unreasonable and discriminatory burden on interstate commerce. Third,

 Enbridge alleges that Defendants’ shutdown would violate the Foreign Commerce Clause and

 Foreign Affairs Doctrine because it intrudes on the federal government’s exclusive right to conduct

 foreign relations and interferes with treaty obligations of the United States. The Enbridge Request

 for Relief does not explicitly seek enforcement of the 1953 Easement, but it does seek relief under

 these federal law theories that would prevent Defendants from revoking the 1953 Easement based



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   The Court refers to this case as Enbridge I. There are two other related cases. One is Nessel, Attorney General of
 the State of Michigan v. Enbridge Energy Limited Partnership, et al., Case No. 1:21-cv-1057 (Enbridge III).
 Defendants removed that action from the state court, and the Sixth Circuit Court of Appeals recently issued its
 Opinion directing remand of the matter to the state court. Enbridge III, ECF No. 39. The mandate has not yet
 issued. The second is State of Michigan, et al., v. Enbridge Energy Limited Partnership, et al., Case No. 1:20-cv-
 1142 (Enbridge II). Enbridge II also began in state court, but after the Defendants removed the case here, Plaintiffs
 voluntarily dismissed the action. Enbridge II, ECF No. 83. All three cases were recently re-assigned to the
 undersigned. Enbridge I, ECF No. 89.

                                                           2
Case 1:20-cv-01141-RJJ-RSK                   ECF No. 94, PageID.942         Filed 07/05/24   Page 3 of 11




 on any theory rooted in perceived state law safety concerns, the state’s public trust doctrine or any

 other similar state law theory.

            Defendants filed a Motion to Dismiss under Fed. R. Civ. P. 12(b)(1) and 12(b)(6) based on

 sovereign immunity. (ECF No. 62.) At the same time, Enbridge filed a Motion for Summary

 Judgment on Counts I and III. (ECF No. 65.) Both motions are fully briefed2 and ready for

 decision. This Opinion will address only the Motion to Dismiss. The Court will set a hearing on

 Enbridge’s Motion for Summary Judgment on Counts I and III.

                                          II.      LEGAL STANDARDS

            Federal Rule of Civil Procedure 12(b)(1) allows for dismissal of an action for lack of

 subject-matter jurisdiction. A Rule 12(b)(1) motion asserting a facial challenge to subject matter

 jurisdiction asks the Court to find that even if the allegations in the complaint are true, the pleadings

 are not sufficient to establish subject matter jurisdiction. Ohio Nat. Life Ins. Co. v. United States,

 922 F.2d 320, 324 (6th Cir. 1990). The Sixth Circuit has found that a Rule 12(b)(1) motion is an

 appropriate way for a state to raise sovereign immunity. See Nair v. Oakland County Cmty. Mental

 Health Auth., 443 F.3d 469, 476 (6th Cir. 2006). Unlike a traditional motion to dismiss for lack of

 subject-matter jurisdiction, “the entity asserting Eleventh Amendment immunity has the burden to

 show that it is entitled to immunity.” Id. at 474.

            Federal Rule of Civil Procedure 12(b)(6) allows for dismissal of an action for failure to

 state a claim upon which relief can be granted. To survive a Rule 12(b)(6) motion, “a complaint

 must contain sufficient factual matter, accepted as true, to state a claim for relief that is plausible

 on its face.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (internal quotation marks omitted). “A

 claim has facial plausibility when the plaintiff pleads factual content that allows the court to draw



 2
     The briefing includes several amicus briefs and supplemental briefs.

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Case 1:20-cv-01141-RJJ-RSK           ECF No. 94, PageID.943           Filed 07/05/24      Page 4 of 11




 the reasonable inference that the defendant is liable for the misconduct alleged.” Id. at 678. In

 determining whether a claim has facial plausibility a court must construe the complaint in the light

 most favorable to the plaintiff, accept the factual allegations as true, and draw all reasonable

 inferences in favor of the plaintiff. Bassett v. Nat’l Collegiate Athletic Ass’n, 528 F.3d 426, 430

 (6th Cir. 2008).

                                         III.    ANALYSIS

        “Sovereign immunity protects states, as well as state officials sued in their official capacity

 for money damages, from suit in federal court.” Boler v. Earley, 865 F.3d 391, 409-10 (6th Cir.

 2017). “There are three exceptions to sovereign immunity: (1) when the state has waived immunity

 by consenting to the suit; (2) when Congress has expressly abrogated the states’ sovereign

 immunity, and (3) when the doctrine set forth in Ex parte Young, 209 U.S. 123 (1908) applies.”

 Id. at 410. Michigan has not waived immunity and Congress has not abrogated immunity in this

 case. Thus, Ex parte Young is the only relevant exception.

        “Under the Ex parte Young exception, a federal court can issue prospective injunctive and

 declaratory relief compelling a state official to comply with federal law.” S & M Brands, Inc. v.

 Cooper, 527 F.3d 500, 507 (6th Cir. 2008). “It is beyond dispute that federal courts have

 jurisdiction over suits to enjoin state officials from interfering with federal rights.” Shaw v. Delta

 Air Lines, Inc., 463 U.S. 85, 96 n.14 (1983) (citing Ex parte Young, 209 U.S. at 160-62). The

 doctrine is premised on the concept that “when a federal court commands a state official to do

 nothing more than refrain from violating federal law, he is not the State for sovereign-immunity

 purposes.” Virginia Off. for Prot. & Advocacy v. Stewart, 563 U.S. 247, 254-55 (2011). “In

 determining whether the Ex parte Young doctrine avoids an Eleventh Amendment bar to suit, a

 court need only conduct a ‘straightforward inquiry into whether the complaint alleges an ongoing



                                                   4
Case 1:20-cv-01141-RJJ-RSK          ECF No. 94, PageID.944           Filed 07/05/24     Page 5 of 11




 violation of federal law and seeks relief properly characterized as prospective.’” Verizon Md. Inc.

 v. Public Serv. Comm’n of Md., 535 U.S. 635, 645 (2002) (quoting Idaho v. Coeur d’Alene Tribe

 of Idaho, 521 U.S. 261, 296, 298-99 (1997)). “The inquiry into whether suit lies under Ex parte

 Young does not include an analysis of the merits of the claim.” Id. at 646.

        Here, Enbridge seeks prospective injunctive and declaratory relief to stop state officials

 from shutting down the Line 5 pipeline in violation of federal constitutional and statutory law.

 This is a straightforward Ex parte Young case. Enbridge “alleges an ongoing violation of federal

 law and seeks relief properly characterized as prospective.” Id. at 645.

        Defendants argue that Ex parte Young does not apply for two reasons. First, Defendants

 contend this action falls squarely within the Coeur d'Alene limitation because Enbridge seeks relief

 that would interfere with Michigan’s special sovereignty interests in its submerged bottomlands.

 Second, Defendants argue that Enbridge seeks relief that would operate against Michigan by

 effectively compelling Michigan’s specific performance with a contract. Both arguments fail.

    A. Coeur d’Alene Limitation

        In Coeur d’Alene, the Supreme Court held that a Native American Tribe’s suit against

 Idaho was barred by the Eleventh Amendment because it amounted to the “functional equivalent

 of a quiet title action which implicates special sovereignty interests.” 521 U.S. at 281. The Tribe

 claimed, “ownership in the submerged lands and bed of Lake Coeur d’Alene and of the various

 navigable rivers and streams that form part of its water system” and “sought a declaratory judgment

 to establish its entitlement to the exclusive use and occupancy and the right to quiet enjoyment of

 the submerged lands as well as a declaration of the invalidity of all Idaho statutes, ordinances,

 regulations, customs, or usages which purport to regulate, authorize, use, or affect in any way the

 submerged lands.” Id. at 264-65. The Tribe also sought “a preliminary and permanent injunction



                                                  5
Case 1:20-cv-01141-RJJ-RSK           ECF No. 94, PageID.945            Filed 07/05/24      Page 6 of 11




 prohibiting defendants from regulating, permitting, or taking any action in violation of the Tribe’s

 rights of exclusive use and occupancy, quiet enjoyment, and other ownership interest in the

 submerged lands together with an award for costs and attorney’s fees and such other relief as the

 court deemed appropriate.” Id. at 265. In holding that the Tribe’s suit was barred by sovereign

 immunity, the Court found the requested relief was “far-reaching and invasive,” and the

 “functional equivalent of quiet title in that substantially all benefits of ownership and control would

 shift from the State to the Tribe.” Id. at 282. “[U]nder these particular and special circumstances,”

 the Court held that the Ex parte Young exception did not apply. Id. at 287.

        Coeur d’Alene is a narrow decision and this case does not involve allegations remotely

 close to it. The Sixth Circuit has reiterated that Coeur d’Alene bars suits only when the action is

 “a functional equivalent of a quiet title action implicating special sovereignty interests.” Arnett v.

 Myers, 281 F.3d 552, 567 (6th Cir. 2002); see also Stevens v. Michigan State Court Admin. Off.,

 No. 21-1727, 2022 WL 3500193, at *5 (6th Cir. Aug. 18, 2022) (“We will not break from this

 tradition of reading Coeur d’Alene narrowly.”). Enbridge’s complaint is not the functional

 equivalent of a quiet title action or even close to it. It asserts no title rights of any kind, whether

 to bottomlands in the Straits or to any other property in which Michigan claims title. It does not

 seek exclusive use of the bottomlands of the Straits or any other property Michigan claims to own.

 Nor does it seek any kind of sweeping relief invalidating all Michigan “statutes, ordinances,

 regulations, customs, or usages which purport to regulate, authorize, use, or affect in any way the

 submerged lands.” Coeur d’Alene, 521 U.S. at 265. To the contrary, rather than seek the sweeping

 relief of a claimed owner of the bottomlands, Enbridge requests relief that would preclude state

 officials from shutting down ongoing operations of a pipeline that has been functioning under




                                                   6
Case 1:20-cv-01141-RJJ-RSK                ECF No. 94, PageID.946                Filed 07/05/24         Page 7 of 11




 easement for the past 65 years. And the bases for that requested declaratory and injunctive relief

 are rooted in alleged violations of federal law, a paradigm Ex parte Young scenario.

         Similarly, Defendants’ reliance on MacDonald v. Village of Northport, 164 F.3d 964 (6th

 Cir. 1999), is misplaced. MacDonald involved a property owner’s claim that a platted street along

 their property in Northern Michigan provided public right of way to Grand Traverse Bay, and that

 the public used the platted street in a way that interfered with the enjoyment of their private

 property. Id. at 966-67. The plaintiffs sought entry of an order vacating the publicly platted street

 and amending the plat, all of which would have impaired the ability of the public to access the

 navigable waters of Grand Traverse Bay. Id. This risk brought state officers into the case as

 defendants. The holding on which all three MacDonald judges agreed was that the district court

 properly applied Buford abstention. Id. at 970. That holding was sufficient to resolve the case,

 but two of the three judges also concluded, without agreement by the third,3 that Coeur d’Alene

 meant the claim was barred by the Eleventh Amendment in any event. The rationale of the

 plurality was that Michigan’s “great interest in maintaining public access to the Great Lakes” was

 at issue in the case and implicated “special sovereignty interests” akin to those at issue in Coeur

 d'Alene. Id. at 972. But there is no similar interest at issue here. Enbridge does not claim sovereign

 ownership or any entitlement to the exclusive use and occupancy of the submerged lands. It is not

 attempting to block anyone else’s access to the bottomlands, or to any other part of the Great Lakes

 system. It is simply seeking relief that would prevent state officials from allegedly violating

 provisions of federal law by stopping the continued operation of a pipeline that has been operating

 for many years over a bottomlands easement.


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   Both the plurality and concurring opinions recognized that neither the district court nor the parties had actually
 addressed the issue of Ex parte Young and Coeur d’Alene. Id. at 970, 973. Judge Ryan concluded that this meant the
 Eleventh Amendment issue needed “more thorough vetting than it has been given on this appeal” and that the case
 should be affirmed on abstention grounds alone. Id. at 973.

                                                          7
Case 1:20-cv-01141-RJJ-RSK            ECF No. 94, PageID.947             Filed 07/05/24       Page 8 of 11




         Because this is not the functional equivalent of a quiet title action, the Coeur d’Alene

 limitation does not apply.

     B. Specific Performance of a State Contract

         “As in most areas of the law, the difference between the type of relief barred by the

 Eleventh Amendment and that permitted under Ex parte Young will not in many instances be that

 between day and night.” Edelman v. Jordan, 415 U.S. 651, 667 (1974). This is a fitting prelude to

 the analysis of Defendants’ argument that the Eleventh Amendment bars this case because the

 relief requested is essentially seeking specific performance of a State contract. It is true that “Ex

 parte Young cannot be used to obtain an order for specific performance of a State’s contract.”

 Stewart, 563 U.S. at 257 (cleaned up); see also Edelman, 415 U.S. at 666-67. But it is also true

 that Ex parte Young does permit suits seeking injunctive relief against a state officer’s enforcement

 of a state law that allegedly violates federal law even if the prospective relief would vindicate

 contractual rights. See Georgia Railroad & Banking Co. v. Redwine, 342 U.S. 299, 300-301

 (1952). Indeed, the Supreme Court has rejected Eleventh Amendment immunity even in a case

 involving a dispute between two different agencies of the same state when the disagreement

 involved conditions imposed by the federal government on federal funding accepted by the state.

 Stewart, supra. The critical question is whether “‘the state is the real, substantial party in interest.’”

 Stewart, 563 U.S. at 255 (quoting Pennhurst State Sch. and Hospital v. Halderman, 465 U.S. 89,

 105 (1984)).

         Redwine is on point and demonstrates that the state is not the real party in interest here, and

 that that Ex parte Young properly applies. In Redwine, a railroad sued to enjoin the enforcement

 of a new state law that purported to remove the railroads contractually based exemption from state

 taxation. 342 U.S. at 300-01. The district court described the case “as one to enforce an alleged



                                                     8
Case 1:20-cv-01141-RJJ-RSK            ECF No. 94, PageID.948          Filed 07/05/24     Page 9 of 11




 contract with the State of Georgia” and dismissed it for lack of jurisdiction. Id. at 304. The

 Supreme Court disagreed and held that the suit fell within the Ex parte Young exception even

 though the threatened taxation would “impair the obligation of contract.” Id. at 304-05. The Court

 reasoned that the “complaint is not framed as a suit for specific performance,” rather it seeks to

 “enjoin [a state official] from collecting taxes in violation of [the plaintiff’s] rights under the

 Federal Constitution.” Id. at 304. The Court also noted that the railroad “merely seeks the cessation

 of [the state official’s] allegedly unconstitutional conduct and does not request affirmative action

 by the State.” Id. at 304 n.15. In sum: “This Court has long held that a suit to restrain

 unconstitutional action threatened by an individual who is a state officer is not a suit against the

 State.” Id. at 304.

         Like the relief sought in Redwine, the relief sought here does not request Michigan’s

 specific performance of the 1953 Easement. In fact, it does not request any affirmative action of

 any kind by the State of Michigan. Enbridge seeks only an order prohibiting Defendants’ actions

 of shutting down the Line 5 pipeline in alleged violation of federal statutory and constitutional

 law. This relief, if granted, certainly protects continued operation of the 1953 Easement against

 termination based on violations of federal law. But that does not take the case outside the ambit

 of Ex parte Young. To the contrary, that fits the paradigm case for Ex parte Young: prospective

 relief against a state officer’s alleged violation of federal law.

         Defendants invoke Waterfront Comm’n of New York Harbor v. Governor of New Jersey,

 961 F.3d 234 (3d Cir. 2020). The Waterfront Commission of New York Harbor was a creature of

 an interstate compact between the states of New York and New Jersey. Id. at 236. As container

 shipping with large liners developed, the deeper water ports of New Jersey became more popular

 than those of New York. Id. New Jersey decided to renounce the Compact and start operating its



                                                    9
Case 1:20-cv-01141-RJJ-RSK            ECF No. 94, PageID.949           Filed 07/05/24      Page 10 of
                                               11



 side of the water on its own, thereby generating more revenue for itself at the expense of the

 Commission.     Id. New Jersey implemented the decision by repealing the state legislation

 authorizing the Commission. Id. at 237. The Commission sued the Governor of New Jersey

 seeking a declaration that the repealer legislation violated not only the compact but also the

 Supremacy Clause of the Constitution because the Constitution requires congressional approval of

 interstate compacts. Id. The Third Circuit held that the Ex parte Young exception did not apply

 because the relief sought “would compel New Jersey to continue to abide by the terms of an

 agreement it has decided to renounce. Such relief tantamount to specific performance would

 operate against the State itself, demonstrating that New Jersey is the real, substantial party in

 interest.” Id. at 241. The court also noted that the relief sought would “have an adverse impact on

 the State of New Jersey’s treasury and compel the State to perform” id. at 241, and that the case

 was a “fact-specific holding.” Id. at 241 n.11.

        Waterfront Comm’n is not binding on this Court, and does not consider Redwine. It is also

 distinguishable. The relief sought by Enbridge is not tantamount to specific performance of a

 contract. Nor does it pose any threat to the Michigan treasury. Moreover, in Waterfront Comm’n,

 the only real relief requested was a declaration that New Jersey was in breach of the compact by

 repealing the authorizing legislation. The claimed basis for Ex parte Young treatment was not any

 alleged ongoing violation of federal law by a state officer but rather a claim that the Constitution’s

 Interstate Compact Clause somehow transformed the particular terms of the compact to the status

 of supreme federal law. But here Enbridge is not seeking any such declaration regarding the terms

 of the 1953 Easement, or any other relief for an alleged breach of contract. Rather, it is simply

 seeking a prospective injunction that prevents state officers from allegedly breaching federal law




                                                   10
Case 1:20-cv-01141-RJJ-RSK           ECF No. 94, PageID.950          Filed 07/05/24     Page 11 of
                                              11



 by stopping the ongoing operation of a pipeline. That brings this case squarely within Ex parte

 Young.

                                      IV.     CONCLUSION

          In sum, Enbridge seeks an order prohibiting state officials from shutting down the Line 5

 pipeline in violation of federal statutory and constitutional law. Enbridge is neither asserting

 ownership over state lands nor seeking to compel performance of a state contract. This case falls

 squarely under the Ex parte Young exception to sovereign immunity. Accordingly, Defendants’

 Motion to Dismiss (ECF No. 62) is denied.




 Dated: July 5, 2024                                         /s/ Robert J. Jonker
                                                             ROBERT J. JONKER
                                                             United States District Judge




                                                 11
